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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  UNITED STATES OF AMERICA,                         Case No. 15-cr-00257-VC-1
                 Plaintiff,
                                                    ORDER GRANTING MOTION FOR
            v.                                      COMPASSIONATE RELEASE
  SHIA,                                             Re: Dkt. No. 152
                 Defendant.

       The motion for compassionate release is granted. Extraordinary circumstances support

Shia’s release, and the information provided at sentencing shows that he is not likely to further

endanger the community. The remaining sentencing factors also support a modification of his

sentence.

       Shia’s sentence is modified such that a new term of supervised release replaces the

remainder of the custodial sentence. As a special condition of this new term of supervised

release, Shia is ordered to home confinement, and as an additional special condition, he is
prohibited from accessing internet-enabled devices. The conditions and terms of supervised

release following the completion of this sentence remain the same.



       IT IS SO ORDERED.

Dated: September 11, 2020
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
